Case 3:22-cv-00049-NKM-JCH Document 265 Filed 07/25/23 Page 1 of 4 Pageid#: 3203




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN :
  CURRENTLY        RESIDING  IN  NORTH :
  CAROLINA, BY AND THROUGH NEXT :                          CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,      :
                                        :
       Plaintiffs,                      :
                                        :
  v.                                    :
                                        :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                               :
                                        :
       Defendants,                      :
                                        :
  and                                   :
                                        :
  UNITED STATES SECRETARY OF STATE      :
  ANTONY BLINKEN AND UNITED STATES      :
  SECRETARY OF DEFENSE GENERAL          :
  LLOYD AUSTIN,                         :
                                        :
       Nominal Defendants.              :
                                        :
  ------------------------------------X

    PLAINTIFFS’ MOTION FOR LEAVE TO FILE RESPONSE IN OPPOSITION TO
   DEFENDANT RICHARD MAST’S RESPONSE IN SUPPORT OF MOTION TO STAY
  DISCOVERY, AND SUR-REPLY IN OPPOSITION TO DEFENDANTS JOSHUA MAST
           AND STEPHANIE MAST’S MOTION TO STAY DISCOVERY

         Pursuant to Local Rule 11(c), Plaintiffs respectfully move for leave to submit the attached

  Response in Opposition to Defendant Richard Mast’s Response in Support of Motion to Stay

  Discovery (ECF No. 251) and Sur-Reply in Opposition to Defendant Joshua Mast and Stephanie

  Mast’s Motion to Stay Discovery (ECF No. 259).
Case 3:22-cv-00049-NKM-JCH Document 265 Filed 07/25/23 Page 2 of 4 Pageid#: 3204




         “The standard for granting a leave to file a sur-reply is whether the party making the

  motion would be unable to contest matters presented to the court for the first time in the

  opposing party’s reply.” Vandelinde v. Priority Auto. Roanoke, Inc., 2021 U.S. Dist. LEXIS

  53820, at *16, No. 7:20-cv-00330, (quoting United States v. Sum of $70,990,605, 991 F. Supp.

  2d 144, 153 (D.D.C. 2013) (quoting Lewis v. Rumsfeld, 154 F.Supp.2d 56, 61 (D.D.C. 2001))).

  Plaintiffs satisfy this standard here because, in their Reply, Defendants Joshua Mast and

  Stephanie Mast make inaccurate representations about the circuit court proceeding to which

  Plaintiffs cannot otherwise respond. In addition, both Joshua Mast, Stephanie Mast and Richard

  Mast make arguments that contradict positions they recently took in the Virginia Court of

  Appeals.

         For these reasons, Plaintiffs respectfully request leave to file the attached Response in

  Opposition to Defendant Richard Mast’s Response in Support of Motion to Stay Discovery and

  Sur-Reply in Opposition to Defendant Joshua Mast and Stephanie Mast’s Motion to Stay

  Discovery.




  July 25, 2023                         Respectfully submitted,

                                        /s/ Maya Eckstein
                                        Maya M. Eckstein (VSB No. 41413)
                                        Lewis F. Powell III (VSB No. 18266)
                                        Kevin S. Elliker (VSB No. 87498)
                                        HUNTON ANDREWS KURTH LLP
                                        951 E. Byrd Street
                                        Richmond, VA 23219
                                        Telephone: (804) 788-8200
                                        Fax: (804) 788-8218
                                        Email: meckstein@HuntonAK.com
                                        Email: lpowell@HuntonAK.com
                                        Email: kelliker@HuntonAK.com
Case 3:22-cv-00049-NKM-JCH Document 265 Filed 07/25/23 Page 3 of 4 Pageid#: 3205




                               Jeremy C. King (admitted pro hac vice)
                               HUNTON ANDREWS KURTH LLP
                               200 Park Avenue
                               New York, NY 10166
                               Telephone: (212) 309-1000
                               Fax: (212) 309-1100
                               Email: jking@HuntonAK.com

                               Sehla Ashai (admitted pro hac vice)
                               ELBIALLY LAW, PLLC
                               704 East 15th Street
                               Suite 204
                               Plano, TX 75074
                               Telephone: (312) 659-0154
                               Email: ashai@elbiallylaw.com

                               Blair Connelly (admitted pro hac vice)
                               Zachary Rowen (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               1271 Avenue of the Americans
                               New York, NY 10029
                               Telephone: (212) 906-1200
                               Email: blair.connelly@lw.com
                               Email: Zachary.rowen@lw.com

                               Damon Porter (admitted pro hac vice)
                               Ehson Kashfipour (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               555 Eleventh Street, NW, Suite 1000
                               Washington, DC 20004-1304
                               Telephone: (202) 637-2001
                               Email: damon.porter@lw.com
                               Email: ehson.kashfipour@lw.com

                               Counsel for Plaintiffs
Case 3:22-cv-00049-NKM-JCH Document 265 Filed 07/25/23 Page 4 of 4 Pageid#: 3206




                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 25th day of July 2023, I filed the foregoing with the Court’s

  electronic case-filing system, thereby serving all counsel of record in this case.



                                 By:     /s/ Maya Eckstein
                                         Maya M. Eckstein (VSB No. 41413)
